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UNITED STATES DISTRICT COURT ()F THE

 

DISTRicT 0F CoLUMBIA
.iAH JAH BEY, CASE 1;14-cv-00860-RCL
Plaintit`f,
Judge Royce (:FT er§ ga
t t a
EQUIFAX iNFORMATION SER\/ICES LLC, UCT d 7' Zm‘*
Dct"cndant.

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()RDER OF DISM!SSAL WITH PREJUI)ICE AS TO DEFENDANT EQUII"AX
INFORMATION SERVlCES, LLC

 

Plaintiff Jah lah Bey (“Plaintil"l"") and Det`endant Equifax lnformation Sei'vices, LLC
("Equifax"), by counsel, having filed their Stipulation of Dismissal With Prcjudice Between
Plaintit`t`And Defen<lant F,quifax lnf`m‘rnatic)n Services, LLC AND THE COURT, having been
duly adviscd, NOW FlNDS that the Saine Sh©uld be grantedl

ll` lS, 'l`Hl~`,REFORE, ORDERED that all claims ofPlaintiff against Del`endant Equifax
arc dismisscd, with prejudice Plaintift` and Dcfcndant Equlfax Shall each bear their own costs

and attorncys’ fces.

Date: Q%MM, §, 30/’7{

 

District of C<)lurnbia

